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UNITED STATES DISTRICT COURT                                           DOC #: _______ I       t_
SOUTHERN DISTRICT OF NEW YORK                                          DATE FILE~:        /o ~/Jo~
------------------------------------------------------------X
JEFFREY ROTHMAN,
                                    Plaintiff,                           19   CIVIL 225 (CM)

                  -against-                                                   JUDGMENT

THE CITY OF NEW YORK, et al.,
                                     Defendants.
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         It is hereby   ORDERED, ADJUDGED AND DECREED: That after a Jury

Trial before the Honorable Colleen McMahon, United States District Judge, Plaintiff Jeffrey

Rothman has a judgment in the amount of $1.00 for the § 1983 claim against Defendant Wunsch

and conversion and battery claims against Defendants Wunsch and the City of New York ;

judgment for defendants on all other claims

DATED: New York, New York
       October / ; , 2020


                                                                       RUBY J. KRAJICK

                                                                         Clerk of Court

                                                                 BY:

                                                                              Deputy   Cler
